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 9 Attorneys for United States of America
10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                           OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                        )   NO. 21-cr-429 YGR
                                                      )
14           Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER
                                                      )   CONTINUING STATUS CONFERENCE AND
15      v.                                            )   EXCLUDING TIME UNDER THE SPEEDY TRIAL
                                                      )   ACT
16   RAY GARCIA,                                      )
                                                      )
17           Defendant.                               )
                                                      )
18
19           A status conference in the above-captioned case is scheduled for March 16, 2022. Counsel for
20 the United States and counsel for the defendant jointly stipulate and request that that status conference

21 be continued to May 4, 2022, and that time be excluded under the Speedy Trial Act from March 16,

22 2022 to May 4, 2022.

23           The government has produced voluminous discovery in this case, including additional forensic
24 reports that were produced recently. Due to personal circumstances and the amount of discovery

25 produced thus far in this case, defense counsel has asked that a status conference be set for May 4, 2022

26 so that he can continue to review the discovery and discuss the case with the defendant. At that time, if

27 the case has not been resolved, the government intends to ask that a trial date be set.

28
     STIPULATION TO EXCLUDE TIME
     AND [PROPOSED] ORDER
     21-cr-429 YGR                                   1
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 1          The government and counsel for the defendant have agreed that time be excluded under and the

 2 Speedy Trial Act so that defense counsel can continue to prepare. The government has produced

 3 voluminous discovery to defense counsel. For these reasons, the parties stipulate and agree that

 4 excluding time until May 4, 2022, will allow for the effective preparation of counsel. See 18 U.S.C. §

 5 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by excluding

 6 time from March 16, 2022 to May 4, 2022, from computation under the Speedy Trial Act outweighs the

 7 best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A), (B)(iv).

 8          The undersigned Assistant United States Attorney certifies that she has obtained approval from

 9 counsel for the defendant to file this stipulation, request, and proposed order.
10

11          IT IS SO STIPULATED.

12

13 DATED: March 15, 2022                                           /s/ Molly K. Priedeman
                                                                 MOLLY K. PRIEDEMAN
14                                                               Assistant United States Attorney
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16 DATED: March 15, 2022                                              /s/ James Reilly
                                                                 JAMES REILLY
17                                                               Attorney for the Defendant
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     STIPULATION TO EXCLUDE TIME
     AND [PROPOSED] ORDER
     21-cr-429 YGR                                   2
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 1                                           PROPOSED ORDER

 2          Based upon the representations of counsel and for good cause shown, the Court finds that failing

 3 to exclude the time from March 16, 2022 to May 4, 2022, would unreasonably deny defense counsel and

 4 the defendant the reasonable time necessary for effective preparation and continuity of counsel, taking

 5 into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The Court further finds that

 6 the ends of justice served by excluding the time from March 16, 2022 to May 4, 2022, from computation

 7 under the Speedy Trial Act outweighs the best interests of the public and the defendant in a speedy trial.

 8 Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from March 16,

 9 2022 to May 4, 2022, shall be excluded from computation under the Speedy Trial Act and the status
10 conference is continued to May 4, 2022.

11

12          IT IS SO ORDERED.

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14 DATED:___________________                     _____________________________________
                                                 THE HONORABLE YVONNE GONZALEZ ROGERS
15
                                                 United States District Judge
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     STIPULATION TO EXCLUDE TIME
     AND [PROPOSED] ORDER
     21-cr-429 YGR                                   3
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